
The Supreme Court affirmed the decision of the Court below on March 28, 1877, in the following opinion:
Per Curiam.
Before payment of the contract price for the erection of a county bridge, it is made the duty of the Court of Quarter Sessions to see that the contract has been properly performed by the contractors. Eor this purpose, the Court appoints inspectors to view the work, and compare it with the contract, and make report to the Court. At the very foundation of the performance of the duty of inspection lies the ability of comparing the execution of the work with the terms of the contract. If the contractors by fraud conceal defects from examination, and thus prevent an honest inspection, which would discover their non-performance of the terms of the contract, and the report thus procured were to be approved, the county would be without remedy, if no power existed in the Court to set aside the confirmation. We are therefore of opinion, it is no abuse of the power of the Court to set aside its order of confirmation when the iraud is discovered, in order to let the county into whatever remedy it may have to recover money paid under the fraudulently procured decree. The decree otherwise would stand in the way of the county.
Proceeding affirmed.
